






In The



Court of Appeals



Ninth District of Texas at Beaumont


____________________



NO. 09-06-220 CR


____________________



TROY BRANNON PRITCHARD, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the County Court at Law No. 2


Jefferson County, Texas


Trial Cause No. 244786






MEMORANDUM OPINION


	We have before the Court a motion from the appellant, Troy Brannon Pritchard, to
withdraw his notice of appeal pursuant to Tex. R. App. P. 42.2.  The motion is signed by
appellant personally.  No opinion has issued in this appeal.  The motion is granted and the
appeal is therefore dismissed.

	APPEAL DISMISSED.

								____________________________

									DAVID GAULTNEY

										Justice


Opinion Delivered November 29, 2006

Do Not Publish

Before McKeithen, C.J., Gaultney and Kreger, JJ.


